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                                    IN THE
                         UNITED STATES DISTRICT COURT
                     OF THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )
                      Plaintiff,         )
vs.                                      )     No. 03 C 3644
                                         )
FUNDS IN THE AMOUNT OF ONE,              )     The Honorable John J. Tharp, Jr.,
HUNDRED THOUSAND AND ONE                 )     District Judge, Presiding
HUNDRED TWENTY DOLLARS                   )
($100,120.00 U.S.C.),                    )
                 Defendant.              )
                                         )
NICHOLAS P. MARROCCO, and                )
VINCENT J. FALLON,                       )
               Claimants.                )


       CLAIMANTS’ DAUBERT OBJECTIONS TO PLAINTIFF’S POTENTIAL
                        OPINION TESTIMONY

      NOW COME Claimants, NICHOLAS P. MARROCCO and VINCENT FALLON,

by and through their attorney, STEPHEN M. KOMIE of KOMIE AND

ASSOCIATES, and in support of their Daubert Objections, state as follows:

I. Statement of Facts

1. Claimants have contemporaneously filed a motion in limine to bar evidence

      related to a purported dog sniff. Due to the similarities in the subject

      matter, Claimants incorporate the substance of the allegations in their

      motion in limine herein.

2. On December 6, 2002, law enforcement officers encountered an individual

      by the name of Vincent Fallon on a train at Union Station in Chicago. United
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   States v. Funds in the Amount of One Hundred Thousand One Hundred and

   Twenty Dollars ($100,120.00), 730 F.3d 711, 713 (7th Cir. 2013). After briefly

   questioning Fallon, the officers instructed Fallon to accompany them back

   to their office with his luggage. (Id.) The details of the initial encounter and

   conversation are not relevant to the instant motion. The subsequent facts

   are.

3. Once at the office, Officer Romano used a pocket knife to open the briefcase

   and discovered that it contained bundles of money. (Id.) Romano then shut

   the briefcase. (Id.) Officer Sterling Terry (Romano’s partner) then called a

   police dispatcher and requested that a police dog (the “canine unit”) be

   brought to the office to conduct a sniff search of the briefcase. (Id.) The dog

   and its handler, Chicago Police Officer Richard King arrived shortly

   thereafter. (Id.)

4. Assisting Officer Terry testified that Officer King (the dog handler) was

   shown the briefcase and where it was sitting when he arrived on the scene.

   (TR. at 86.)1 King testified he was aware the briefcase contained “suspect

   narcotics transaction money,” before he retrieved Deny to conduct the

   sniff-search. (TR. at 12.)

5. King then returned with Deny to a room where he had performed searches

   with Deny on previous occasions. (TR. at 14.) King testified Deny started




      1
       Citations to “TR. at __ ” refer to the transcripts of the evidentiary hearing
on the Motion to Suppress, conducted April 26-27, 2004. R. 43; 44.

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   searching the perimeter walls of the room before making his way over to the

   briefcase. (TR. at 15.) King then testified Deny began pulling and biting at

   the briefcase. (Id.) King testified that the briefcase was not secreted in a

   cabinet, but rather was located in an accessible area. (TR. at 15-16.)

6. Romano testified differently; he stated that he took the briefcase and

   secreted it inside a filing cabinet. (TR. at 198.) Romano testified that when

   King and Deny entered the room, Deny was on a leash, which King released.

   (TR. at 199.) After Deny was let off the leash, Romano testified the dog went

   straight to the cabinet where the briefcase was secreted and started

   scratching on it. (Id.) According to Romano, Deny did not search around the

   perimeter of the room at any time. (Id.) Romano testified that Deny never

   touched the briefcase with either it’s paws or mouth. (TR. at 200.)

7. According to Officer Terry’s testimony, the drug sniffer dog has always

   alerted positively to currency subjected to a sniff test at the Amtrak Police

   Office. (TR. 136-37; Doc. 211 at 45, ¶24) This was later admitted by the

   government. (Doc. 211 at 45, ¶25) According to the government, there were

   86 occasions between fiscal years 2002 through 2007 in which a drug

   sniffer dog was utilized at Union Station to sniff test currency. (Id.). Of the

   86 occasions, the drug sniffer dog alerted positive on the currency 100% of

   the time. (Id.)

8. In any event, after the sniffer dog allegedly alerted to the briefcase, the

   currency was removed from the briefcase, sealed into evidence bags, and



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  sent to a bank to be counted. There is no dispute that the Defendant Res

  was destroyed by the government, i.e., the actual funds were deposited and

  no longer available for inspection by Claimants. (TR. 91-92.) Further, as the

  Seventh Circuit noted the currency is unavailable for scientific testing.

9. During discovery and subsequent motion practice, the government has

  tendered documents relating to Deny’s training and field performance,

  amongst other discovery. Further, Plaintiff has filed at least two affidavits

  executed by Deny’s handler, Officer Richard King. Affidavits attached as

  Exhibits A and B.

10.   It is expected that Plaintiff will offer the testimony of Handler Richard

      King and his speculation about Deny’s behavior on or about December 6,

      2002. Claimants object to the admission of any evidence concerning

      Deny’s purported “sniff test” on December 6, 2002.

11.   Plaintiff has not designated an additional expert to testify to their theory

      of the case, i.e., that a positive dog alert to currency is probative of

      whether the currency was recently in contact with narcotics.

      Nevertheless, Claimants are requesting this Court to bar the introduction

      of any evidence of the so-called Furton theory, which will be addressed

      below.

II. Law Applicable

12.   That the government seeks to forfeit the Defendant Res pursuant to 21

      USC § 881(a)(6).



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13.   Section 881, provides, in pertinent part,

      All moneys, negotiable instruments, securities, or other things of
      value furnished or intended to be furnished by any person in
      exchange for a controlled substance or listed chemical in violation
      of this subchapter, all proceeds traceable to such an exchange,
      and all moneys, negotiable instruments, and securities used or
      intended to be used to facilitate any violation of this subchapter.

      Id.

14.   The government has not produced and cannot produce a competent

      witness to testify the Defendant Res was:

      a.    furnished or was intended to be furnished by any person in

            exchange for a controlled substance or listed chemical in violation

            of Section 881;

      b.    traceable to such an exchange described above; and/or

      c.    used or was intended to be used to facilitate any violation of

            Section 881, whatsoever.

15.   That because the government does not have any direct evidence of one of

      the three elements described above, the government intends to rely on

      circumstantial evidence via opinion testimony to establish this alleged

      connection.

16.   Therefore, Federal Rule of Evidence 702 governs the admissibility of any

      opinion testimony the government intends to introduce in this case. Said

      rule provides,

      If scientific, technical, or other specialized knowledge will assist the
      trier of fact to understand the evidence or to determine a fact in
      issue, a witness qualified as an expert by knowledge, skill,

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      experience, training, or education, may testify thereto in the form
      of an opinion or otherwise, if (1) the testimony is based upon
      sufficient facts or data, (2) the testimony is the product of reliable
      principles and methods, and (3) the witness has applied the
      principles and methods reliably to the facts of the case.

      Fed.R.Evid. 702.

17.   That specifically, the government intends to use a purported dog sniff as

      the only evidence of a connection between narcotics and the Defendant

      Res.

18.   That as the proponent of the evidence, Plaintiff has the burden to

      demonstrate the evidence’s admissibility.

III. Analysis

19.   In prior motion practice, Plaintiff has alleged “Deny” alerted to the

      briefcase Mr. Fallon had been carrying. And the briefcase contained the

      Defendant Res.

20.   This Court made the following factual findings when it decided

      Claimants’ motion to suppress,

      The patrol officer with the dog, ‘Deny,’ arrived someplace between
      2:25 p.m. and 3:00. None of the witnesses (who also included
      Deny's handler, Officer Richard King), agreed on this point. It was
      not, however, more than an hour after the encounter on the train.
      Officer King told Officer Romano to hide the briefcase in another
      room, which was done. Deny found the bag and gave a positive
      alert that it contained drugs or money that had been contaminated
      with drugs. Deny was not asked to sniff any of the 19 bundles of
      money found in the bag. The money was later taken to a bank and
      deposited with other money.

      United States v. $100,120.00, 361 F.Supp.2d 757, 760 (N.D.Ill. 2005).




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21.   Plaintiff has alleged the canine alert means the sniffer dog “alerted to the

      presence of the odor of an illegal drug coming from the briefcase

      containing the seized currency.”

22.   Plaintiff has produced an affidavit(s) from the dog’s handler, Officer King,

      attesting to his opinion of Deny’s reaction to the briefcase, King’s

      interpretation of Deny’s reaction, and King’s opinion of his interpretation

      of Deny’s purported reliability.

23.   Plaintiff has never produced any evidence that Officer King is an expert

      in canine olfaction, scientific statistical analysis, or the chemical

      composition of any illegal narcotics allegedly contaminating the briefcase.

24.   Plaintiff nevertheless claims, Officer King’s interpretation of the sniffer

      dog’s purported alert “establishes that the source of the funds was from

      illegal drug transactions.”

25.   Thus, it appears Plaintiff intends to argue that Deny’s alleged positive

      alert to the briefcase indicates the currency contained therein, recently,

      or just prior to packaging, had been in close or actual proximity to a

      significant amount of narcotics, and is not the result of any alleged

      innocent environmental contamination of circulated U.S. currency by

      traces of narcotics.

26.   Plaintiff’s claims regarding Deny’s purported alert amount to equating a

      sniffer dog’s sense of smell with a scientific test, which can conclusively

      establish the presence of an unknown controlled substance.



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27.   Additionally, Plaintiff has relied upon a certain theory propounded by Dr.

      Kenneth Furton and others, which proposes that under laboratory

      conditions, a positive dog alert to currency can suggest that the currency

      has been in the presence of cocaine in the recent past. The theory does

      not account for a multitude of other factors which could lead to a positive

      dog alert, including, but not limited: poor and inadequate training; poor

      deployment techniques; poor test conditions; handler cueing; or even the

      presence of trace amounts of other narcotics on the currency. It is

      believed that Plaintiff will attempt to offer evidence based on the so-called

      “Furton” or “Two hour” theory.

28.   Conversely, Claimants have produced a mountain of expert evidence that

      the Furton Theory is completely, scientifically invalid. See Motion in

      Limine to Bar Dog Sniff Evidence at ¶38. Moreover, Claimants have

      produced substantial evidence that Deny’s alleged alert could have been

      based on a many other facts. See e.g., id. at ¶¶36-37.

29.   The United States Supreme Court has held, district courts are to be

      gatekeepers regarding the admissibility of opinion or scientific testimony.

      Daubert v. Merrill Dow Pharmaceuticals. Inc., 509 U.S. 579 (1993).

30.   That factors a district court should consider when determining whether

      scientific evidence should be admitted are: (1) whether the particular

      scientific theory “can be (and has been) tested”; (2) whether the theory

      “has been subjected to peer review and publication”; (3) the “known or



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      potential rate of error”; (4) the “existence and maintenance of standards

      controlling the technique's operation”; and (5) whether the technique has

      achieved “general acceptance” in the relevant scientific or expert

      community. Deputy v. Lehman Brothers. 345 F.3d 494, 505 (7th Cir.

      2003), citing Daubert, at 593-94.

31.   That applying the factors listed in Daubert this Court should bar the

      introduction of any evidence relating to Deny’s purported alert.

32.   That the government has not produced evidence that a positive canine

      alert to U.S. currency indicates the currency had recently, or just prior to

      packaging, been in close or actual proximity to a significant amount of

      narcotics; or that such a theory has been tested.

33.   That the government has not produced any evidence that the purported

      sniff test by Deny of the subject Res has been tested.

34.   That the government has not produced any evidence that Officer King

      has any scientific training or experience on the ability and effectiveness

      of dogs to identify narcotics on U.S. Currency.

35.   That Officer King’s affidavit fails to aver his training, methodology, or

      certification techniques have been tested in order to determine their

      reliability.

36.   That the government does not know and has not provided any evidence

      of Deny’s rate of false positive alerts to currency in the field. Therefore,

      Deny’s error rate as to currency sniff tests in the field is unknown.



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37.   That the government fails to provide any literature (or other

      documentation) to show that the government’s theory as to narcotic

      residue contamination has achieved “general acceptance” in the expert

      community.

38.   That the government’s theory as to narcotic residue contamination is so

      unreliable that at a minimum, this Court must hold a Daubert hearing

      prior to allowing the government to introduce evidence pertaining to the

      alleged dog sniff.

39.   Therefore, this Court should grant Claimants’ motion for a Daubert

      hearing prior to allowing Officer King to testify regarding the alleged dog

      sniff and require Plaintiff to prove that its theory relating to the probative

      value of the dog sniff survives Daubert.

40.   That in addition, this Court should grant a Daubert hearing because the

      government failed to preserve the Defendant Res. The need for a hearing

      on the government’s theory is especially acute in this case because the

      government intentionally destroyed the Res.

41.   That as this Court found, once the Defendant Res was seized it was

      immediately deposited it into a general account, without a court order to

      destroy the Res. The government did not attempt to preserve the

      evidence for trial or further testing. By destroying the Defendant Res,

      Claimants have been denied an opportunity to conduct an independent

      analysis of the currency.



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42.   That if the government had seized an actual controlled substance from

      Claimant Fallon, it is unquestionable that the government would have

      preserved the evidence. It would have then sent a sample of the evidence

      to a crime lab to have a scientific analysis conducted to determine

      conclusively what the substance was. Obviously, in that case, Claimants

      would have had the opportunity to have their independent scientific tests

      conducted to ensure the substance was actually a controlled substance.

43.   That currency is no different. The currency and the purported dog sniff is

      the primary evidence the government intends to use against Claimants.

      Scientific testing using gas chromatograph mass spectrometers could

      have determined the amount of narcotic residue on the currency.

      Nevertheless, the government intentionally destroyed the evidence as it

      does in every currency forfeiture case.

44.   Therefore, this Court should grant Claimants motion for a pre-trial

      Daubert hearing in order to ensure the testimony presented to the jury is

      reliable and relevant.




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   WHEREFORE, Claimants respectfully pray this Court to grant Claimants’

motion for a Daubert hearing regarding the introduction of the alleged dog sniff

and its meaning prior to the commencement of the jury trial in this case.



                               Respectfully submitted,

                               NICHOLAS MARROCCO and
                               VINCENT FALLON, Claimants
                               By and through their attorneys
                               KOMIE AND ASSOCIATES


                        By:      /s/ Stephen M. Komie

Stephen M. Komie
Komie and Associates
One North LaSalle Street, 42nd Floor
Chicago, IL 60602
312.263.2800




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